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 Fill in this information to identify the case:
 Debtor name Martines Palmeiro Construction, LLC
 United States Bankruptcy Court for the: DISTRICT OF COLORADO                                                                                Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Arbor Contract                                      Subcontractor                                                                                             $254,255.60
 Carpet, Inc.
 P.O. Box 675082
 Dallas, TX
 75267-5082
 Blake Solutions                                     Subcontractor                                                                                             $798,488.25
 7895 Courtyard
 Plaza
 Memphis, TN 38119
 Builders                                            Subcontractor                                                                                             $395,722.84
 FirstSource, INC
 8037 Midway Dr
 Littleton, CO 80125
 Custom Concrete                                     Subcontractor                                                                                             $270,511.87
 Cutting, Inc.
 P.O. Box 1060
 Brighton, CO 80601
 Dema Plumbing, Inc.                                 Subcontractor                                                                                             $444,842.19
 7384 S Alton Way,
 Suite 203
 Englewood, CO
 80112
 Douglass Colony                                     Vendor                                                                                                    $563,383.40
 5901 E. 58th Ave
 Commerce City, CO
 80022
 E-Z Excavating, Inc.                                Subcontractor                                                                                             $352,791.62
 P.O. Box 1439
 Longmont, CO
 80502
 Four Star Drywall                                   Subcontractor                                                                                           $1,238,043.56
 Residential, Inc.
 2290 Dayton Street
 Aurora, CO 80010




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 Debtor    Martines Palmeiro Construction, LLC                                                       Case number (if known)
           Name

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 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Freund & Freund                                     Subcontractor                                                                                             $719,785.20
 Plumbing & Heating
 1950 Chambers
 Road
 Aurora, CO 80011
 Landtech                                            Subcontractor                                                                                           $1,233,563.94
 Contractors, Inc.
 525 Laredo Street
 Aurora, CO 80011
 Messer Painting,                                    Subcontractor                                                                                             $249,334.18
 LLC
 216 High Plains St.
 Castle Rock, CO
 80104
 Rago Enterprises,                                   Vendor                                                                                                    $303,209.51
 LLC
 5610 FM 2218
 Richmond, TX 77469
 Randy's Drywall                                     Subcontractor                                                                                             $454,545.44
 Services, LLC
 4112 Kodiak Court
 Unit A
 Longmont, CO
 80504
 SNR Contractors &                                   Subcontractor                                                                                             $348,766.24
 Associates
 19029 E. Plaza Drive
 Suite 250
 Parker, CO 80134
 Specialty Appliance,                                Subcontractor                                                                                             $575,614.79
 Inc.
 8775 E. Orchard Rd.
 Suite 805
 Greenwood Village,
 CO 80111
 Standard Interiors                                  Subcontractor                                                                                             $368,667.79
 1050 W. Hampden
 Ave.
 Suite 300
 Englewood, CO
 80110
 Steele Bros.                                        Subcontractor                                                                                             $574,809.61
 Heating, Inc.
 7147 Reynolds Dr.
 Sedalia, CO 80135
 Systems                                             Subcontractor                                                                                             $345,483.04
 Management Group,
 LLC
 18850 E. Clarke Rd.
 Unit 100
 Parker, CO 80134



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 Debtor    Martines Palmeiro Construction, LLC                                                       Case number (if known)
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 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 The Colorado Floor                                  Subcontractor                                                                                             $289,874.78
 Company
 5420 Ward Road
 Arvada, CO 80002
 Whirlpool                                           Vendor                                                                                                    $920,262.32
 Corporation
 PO Box 88129
 Chicago, IL
 60695-1129




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